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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)
 K&L Gates LLP
 One Newark Center
 1085 Raymond Boulevard, 10th Floor
 Newark, NJ 07102
 Telephone: (973) 848-4000
 Facsimile: (973) 848-4001
 Daniel M. Eliades, Esq. (DME-6203)
 David S. Catuogno, Esq (DSC-1397)
 William Waldman, Esq. (WLW-1452)
 Special Counsel for the Debtors
                                                                          Case No. 24-13427 (SLM)
 In re:
                                                                          (Jointly Administered)
 Supor Properties Enterprises LLC, et al. 1,
                                                                          Chapter 11
                                       Debtors.
                                                                          Judge: Hon. Stacey L. Meisel

          CERTIFICATION OF NO OBJECTION REGARDING FIRST MONTHLY
          FEE STATEMENT OF K & L GATES LLP FOR PERIOD FROM APRIL 1,
                    2024 THROUGH MAY 31, 2024 (ECF NO. 156)

               The court authorized, under D.N.J. LBR 2016-3(a), compensation to professionals on

     a monthly basis. Under D.N.J. LBR 2016-3(c), objections to the Monthly Fee Statement

     filed by K&L Gates LLP on June 25, 2024 [ECF Doc. No.156], were to be filed and served

     no later than July 10, 2024. I, David S. Catuogno, certify that, as of July 11, 2024, I

     reviewed the court’s docket in this case and no answer, objection, or other responsive




 1
  . The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number are
 Supor Properties Enterprises (5580), J Supor 136-1 Realty LLC (3205), Supor172 Realty LLC (5662), Supor Properties
 Breiderhoft LLC (7258), Supor Properties Devon LLC (6357), Shore Properties Associates North LLC (6707), Supor
 Properties 600 Urban Renewal, LLC (8604), JS Realty Properties, LLC (2497) and Supor Properties Harrison Avenue
 LLC (1728).


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   pleading to the above Monthly Fee Statement was filed nor were any such objections served

   upon K&L Gates LLP or me.

               Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the

   filing of this Certification.

                                                       K&L GATES LLP
                                                       Special Counsel to Debtor


 Dated: July 11, 2024                                 By: /s/ David S. Catuogno
                                                               David S. Catuogno




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